                         UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


   In re:
                                                              Case No. 18-10511-TMD
   RONCO HOLDINGS, INC.,
                                                                     Chapter 11
                          Debtor.


                        NOTICE OF APPEARANCE AND REQUEST
                              FOR SERVICE OF PAPERS


        Please take notice that the undersigned of BRUTZKUS GUBNER hereby appears on

behalf of Ron Popeil, and respectfully requests that all notices which are required to be given in

this case and all papers which are required pursuant to 11 U.S.C. § 1109(b) and Bankruptcy

Rules 2002(a) and (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure, be

served upon Robyn B. Sokol at the address, telephone and facsimile number listed below:


                                      Robyn S. Sokol, Esq.
                                    BRUTZKUS GUBNER
                                 21650 Oxnard Street, Suite 500
                                   Woodland Hills, CA 91367
                                   Telephone: (818) 827-9000
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                                    E-mail: rsokol@bg.law



Dated: July 31, 2018                          Respectfully submitted,
                                              BRUTZKUS GUBNER


                                              By: /s/ Robyn B. Sokol
                                                 Robyn B. Sokol
                                                 Counsel for Ron Popeil
                                  CERTIFICATE OF SERVICE


       I hereby certify that on the 31st day of July, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of this filing to all

ECF participants registered to receive electronic notice in this bankruptcy proceeding and

furthermore as indicated below.


                                                       /s/ Robyn B. Sokol
                                                       Robyn B. Sokol
